              SUMMARY REPORT
              THE ECONOMIC VALUE OF
              U.S. CORAL REEFS


                                           1




                                    The Economic Value of US Coral Reefs: 2001 – 2011
2001 – 2011




                               P00000082545
                 EDITED BY Peter E.T. Edwards
                 Economist and Social Science Coordinator
                 NOAA Coral Reef Conservation Program. 2013.
                 Summary Report, The Economic Value of U.S.
                 Coral Reefs. Silver Spring, MD:NOAA




  2
Summary Report




                 NOTE: This summary document is a companion document to another report entitled “The Total
                 Economic Value of US Coral Reefs: A Review of the Literature” - Brander et al (2013). The Brander
                 report presents a detailed analysis of US coral reef valuation studies. The authors conducted a meta-
                 analysis of the seven studies presented in this report in addition to a few other valuation studies not
                 included here. The Brander study is a more technical document than this summary report. However
                 for those who require more in depth analysis they are free to refer to it at the web link provided
                 here: http://coralreef.noaa.gov/Library/Publications/valuemetaanalysis.pdf

                 This report was made possible with support from NOAA's Coral Reef Conservation Program




                                                                                                                           P00000082546
Contents
Introduction.....................................................................................................................................3
Background......................................................................................................................................4
Florida................................................................................................................................................6
Hawaii................................................................................................................................................9
American Samoa...........................................................................................................................11
Commonwealth of the Northern Mariana Islands (CNMI): Saipan..............................14
Guam................................................................................................................................................16
Puerto Rico....................................................................................................................................18
US Virgin Islands..........................................................................................................................20                          1
Conclusions...................................................................................................................................22




                                                                                                                                                                The Economic Value of US Coral Reefs: 2001 – 2011
References.....................................................................................................................................23




                                                                                                                                                           P00000082547
                                2
               Summary Report




P00000082548
Introduction
Coral reefs are among the most valuable ecosystems on Earth, they provide humans with billions
                                                                                                                     3




                                                                                                              The Economic Value of US Coral Reefs: 2001 – 2011
of dollars in economic and environmental services (also known as ecosystem services) such as
food, protection for coasts, and tourism. However, increasing population growth rates along with
economic and industrial development has resulted in unprecedented pressure to coral reefs. These
pressures include impacts from climate change, unsustainable fishing, and land-based pollution.

Domestically, the NOAA Coral Reef Conservation Program (CRCP) funds and equips reef conservation
activities by NOAA and its partners in the seven US states and jurisdictions containing coral reefs
(American Samoa, the Commonwealth of the Northern Mariana Islands, Florida, Guam, Hawai`i,
Puerto Rico, and the US Virgin Islands), as well as in uninhabited islands including the Northwestern
Hawaiian Islands and the Pacific Remote Island Areas.

Given some of the threats mentioned above, there are a few questions to consider. How much are
coral reefs worth to society? How much do people care about coral ecosystems? Can we demonstrate
the value of these unique ecosystems and account for what we stand to lose if they are irreparably
damaged? Providing answers to these questions can assist with better decisions that influence coral
reef resource management and policy. One way to provide answers is through the use of Economic
Valuation techniques.

The CRCP recognizes the benefits gained from the strategic use of social science tools in US coral reef
jurisdictions and one of these tools includes Natural Resource Valuation. Since 2001, the program
has funded social science activities including, valuation studies in seven (7) US coral reef jurisdictions.
This document attempts to summarize the major findings of these studies in order to provide an
overall report on the value of US coral reefs.




                                                                                                       P00000082549
  4               Background
Summary Report




                 This document summarizes the work done over a ten year period on seven US coral reef
                 jurisdictions. NOAA was a significant contributor to the seven valuation studies that were
                 conducted during the period. It should be noted that while all the studies were economic
                 valuation studies, they each may have used slightly different approaches. Additionally,
                 each of these studies varies slightly in terms of the theoretical economic assumptions (Total
                 Economic Value, Benefit Transfer, Economic Impact). A list of common valuation approaches
                 is shown in the table below. The references provided for each individual study contain more
                 details on methodology and findings.




                                                                                                                 P00000082550
Table 1 Common valuation techniques for goods and services of coral reefs
                            Technique                                     Goods and services
           Directly applicable market techniques
     Loss of earnings / Human capital approach (HC)                       Tourism/recreation
    Change in Productivity / Effect of production (EoP)           Fisheries/ornamental use/tourism
     Stock (houses, infrastructure, land) at Risk (SaR)                   Coastal protection
                Preventive expenditures (PE)                              Coastal protection
                    Damage Costs (DC)                                     Coastal protection
                  Replacement costs (RC)                                  Coastal protection
             Revealed preference techniques
                Travel-cost approaches (TC)                               Tourism/recreation
               Hedonic pricing method (HP)                                  Amenity value
               Stated preference techniques
           Contingent valuation methods (CVM)                        Cultural services, biodiversity
                  Choice Experiment (CE)                             Cultural services, biodiversity
Source: Adapted from Dixon (1990), Barton (1994).

Notwithstanding the application of slightly different methodological approaches, which
produce different ranges of values1, the results and findings in each study support and confirm
that coral reefs provide significant benefits to society. Understanding the value of coral reefs
therefore provides information that can be used to improve the allocation of resources to ensure
conservation.
                                                                                                                            5
The report summaries are presented in chronological order
      •	    Florida (2001)




                                                                                                                     The Economic Value of US Coral Reefs: 2001 – 2011
      •	    Hawaii (2002)
      •	    American Samoa (2004)
      •	    Commonwealth of the Northern Mariana Islands (CNMI-Saipan) (2006)
      •	    Guam (2007)
      •	    Puerto Rico (2008)
      •	    US Virgin Islands (2011)

The table below outlines the annual values converted to 2012 dollars (real dollars) for comparison
across jurisdictions. Results presented below are based on CRCP funded projects only.

Table 2 Total Economic Values of US Coral Reef Jurisdictions (2012$)
                 Location                           Study Year             Present Value (2012$ Million/Year)
                  Florida                                 2001                             324
                  Hawaii                                  2002                             455
             American Samoa                               2004                             11
              CNMI – Saipan                               2006                             68
                  Guam                                    2007                             150
               Puerto Rico                                2008                            1,161
             US Virgin Islands                            2011                             210


1
 For example the Puerto Rico study used the Total Economic Valuation approach that sums different types of
estimated values and this in turn results in a very high (aggregated) dollar amount.




                                                                                                                P00000082551
Florida



                 Title: Socioeconomic Study of Reefs in Southeast
  6
                 Florida: Final Report (2001)
                 Johns, Leeworthy, Bell and Bonn
Summary Report




                 This study determined the net economic value of southeast Florida’s natural and artificial
                 reef resources to the local economies and the reef users. Southeast Florida is defined as the
                 counties of Palm Beach, Broward, Miami-Dade and Monroe. The study area included, from
                 north to south, the cities of West Palm Beach, Fort Lauderdale, and Miami, and the Florida Keys.

                 Using survey research methods the researchers measured the economic contribution and
                 the use values of artificial and natural reefs over the twelve-month period of June 2000 to
                 May 2001. The reef users surveyed were boaters who are recreational fishers (commercial
                 fishers were not included), reef divers, reef snorkelers and/or visitors viewing the reefs on
                 glass-bottom boats. The study used a combination of approaches including estimating the
                 economic contribution of visitor and Florida resident spending as well as reef users’ willingness
                 to pay for maintaining the condition of the reefs. The study was funded by each of the four
                 counties, the Florida Fish and Wildlife Conservation Commission through the use of Federal
                 Aid in Sport Fish Restoration funds, and the National Oceanic and Atmospheric Administration
                 through the Socioeconomic Monitoring Program for the Florida Keys National Marine
                 Sanctuary.

                 Between 2000 and 2001, surveys were conducted on the following groups of respondents:
                 Resident boaters (mail survey), General visitors (intercept survey), Visitor boaters (intercept
                 survey) and Charter/Party boats (mail survey). The surveys collected information that was
                 used to estimate participation rates in reef related activities, expenditures related to reef use,
                 willingness to pay and demographic information.




                                                                                                                  P00000082552
Findings

Contribution of Reef-Related Spending to the County Economies
The total economic contribution of the reefs to each county is measured as the contribution of
reef-related expenditures to county sales, income and employment. As residents and visitors
spend money in the county to participate in reef-related recreation, income and jobs are created
within the county. Economic contribution2 includes the direct, indirect and induced effects of
visitor spending and the direct effects of resident spending.

Reef-related expenditures generated $505 million in sales in Palm Beach County, $2.1 billion in
sales in Broward County, $1.3 billion in sales in Miami-Dade County and $490 million in sales in
Monroe County during the 12-month period from June 2000 to May 2001. These sales resulted in
$194 million in income to Palm Beach County residents, $1.1 billion in income to Broward County
residents, $614 million in income to Miami-Dade County residents and $139 million in income
to Monroe County residents during the same time period. Reef-related expenditures provided
6,300 jobs in Palm Beach County, 36,000 jobs in Broward County, 19,000 jobs in Miami-Dade
County and 10,000 jobs in Monroe County

Table 3 Economic Contribution of Reef-Related Expenditures to Each County*

  Type of Economic Contribution         Palm Beach              Broward           Miami-Dade         Monroe
                                                                County              County           County                7
           Sales – All Reefs                $505                 $2,069              $1,297            $490
     (in millions of 2000 dollars)
           Artificial Reefs                 $148                  $961                $419             $127




                                                                                                                    The Economic Value of US Coral Reefs: 2001 – 2011
            Natural Reefs                   $357                 $1,108               $878             $363


          Income – All Reefs                $194                 $1,049               $614             $139
     (in millions of 2000 dollars)
           Artificial Reefs                  $52                  $502                $195             $33
            Natural Reefs                   $142                  $547                $419             $106


     Employment – All Reefs                 6,300                36,000              19,000           10,000
 (number of full- and part-time jobs)
           Artificial Reefs                 1,800                17,000               6,000           2,000
            Natural Reefs                   4,500                19,000              13,000           8,000

*The economic contributions cannot be summed over the four counties to get the total economic contribution of
the reefs to southeast Florida. This is because the concept of economic contribution looks at the economy of the
individual geographic area as a separate entity from its neighbors.




2
 Please note, economic contribution (or impact) as described here is different from “economic benefit or value”.
Economic value resides in the contributions that ecosystem functions make to human well-being, while economic
impact describes localized economic effects on local businesses and communities (sales, employment, income and
taxes). Economic impacts do not measure benefits to resource users.




                                                                                                               P00000082553
                 June 2000 to May 2001 – Residents and Visitors

                 Economic Value that Reef Users Place on the Reefs
                 While the results above highlight the economic impacts from sales and expenditures the researchers
                 also conducted an economic valuation exercise. The researchers used a contingent valuation
                 approach to derive the economic values Florida reef users have. Users were asked about their
                 willingness to pay for specific reef programs. The study estimated four types of use values, these were:
                 (1) the value to natural reef users of maintaining the natural reefs in their existing condition; (2) the
                 value to artificial reef users of maintaining the artificial reefs in their existing condition; (3) the value
                 to artificial and natural reef users of maintaining both the artificial and natural reefs in their existing
                 condition; and (4) the value of adding and maintaining additional artificial reefs. The respondents
                 were asked: “If your total cost per trip would have been $______ higher, would you have been willing to
                 pay this amount to maintain the (kind of reef – artificial or natural or both) in their existing condition.”
                 Estimates of value were derived from the survey data using econometric analytical techniques.

                 The report found that the aggregate value of visitor and resident reef users in all four counties
                 was $255 million per year for the purpose of maintaining both the artificial reefs and the natural
                 reefs in southeast Florida in their current condition by maintaining water quality, limiting damage to
                 reefs from anchoring, and preventing overuse of the reefs. When the projects to protect the artificial
                 and natural reefs are considered separately, visitor and resident reef users in all four counties are
                 willing to pay $85 million per year to protect the artificial reefs and $228 million per year to protect
                 the natural reefs in southeast Florida.

  8              For further details see full study http://coastalsocioeconomics.noaa.gov/core/reefs/02-01.pdf
Summary Report




                                                                                                                           P00000082554
                                                                                                Hawaii
Economic valuation of the coral reefs of Hawaii
(2002)                                                                                                             9

Cesar, van Beukering, Pintz and Dierking




                                                                                                            The Economic Value of US Coral Reefs: 2001 – 2011
Coral reefs are essential for the livelihood of many Hawaiians, through both the provision of tourism
and fisheries. Reefs also protect coastal infrastructure, tourist beaches and communities through
their ability to dissipate wave energy. In addition, coral reefs play an important spiritual and cultural
role in Hawaiian society. The objective of the study were threefold: (i) to assess the economic value
of selected case study areas (see below) and of Hawaii as a whole, (ii) to determine the economic
costs of reef degradation; (iii) to compare the costs and benefits of various management options
which aim to reverse these trends. The economic valuation of natural resources presents a major
challenge: how to put a price-tag on goods and services from coral reefs that are not typically
traded in the market. A host of valuation techniques are available to value these ecosystem goods
and services. Those used in this study are the Effect on Production (EoP); Replacement Costs (RC);
Damage Costs (DC); Travel Costs (TC); and the Contingent Valuation Method (CVM)2.

Findings

The average annual benefits that accrue from Hawaiian coral reefs amount to $364 million. This
leads to a net present value of nearly $10 billion (at a discount rate3 of 3%). This figure represents
the asset value of the coral reefs of the Main Hawaiian Islands. Sensitivity estimates suggest that
without discounting, this asset value would be as much as $19 billion, while a discount rate of 15%
would produce a corresponding net present value of $2.8 billion. The largest contribution (85%)
to the yearly benefits of $364 million is the annual value added by recreation and tourism ($304

2
    Refer to Table 1




                                                                                                      P00000082555
                 million). Second contributor to overall value is the amenity/property value, with benefits of $40
                 million per annum. The impact of reefs on the total property value in Hawaii is modest, but as total
                 property values are so high in Hawaii, a high coral reef related value is still generated. The third most
                 important benefit is biodiversity. This is partly expressed in terms of reef-related research expenditures
                 ($10 million per year) and partly in terms of non-use value ($7 million per year). The latter value was
                 estimated through benefit transfer4.

                 Table 4 Annual benefits and the net present value of the Hawaiian coral reefs and the
                 different study sites

                                                                          Hanauma          Kihei Coast,      Kona Coast,         Hawaii -
                                                                          Bay, Oahu           Maui             Hawaii            overall
                       Recreational value            Million$/year           36.23             8.02              8.06             304.16
                         Amenity value               Million$/year           0.00              18.26             4.47              40.05
                        Biodiversity value           Million$/year           1.11              1.71              4.35              17.00
                          Fishery value              Million$/year           0.01              0.10               0.7              2.50
                    Education spill-over value       Million$/year           0.22                -                 -                 -
                      Total annual benefits          Million$/year           37.57             28.09            17.68             363.71
                     Net Present Value @ 3%            Million$              1,503             522               389               9,722


                 The table above shows the various benefits for the three case studies, as well as the figures for the
                 State of Hawaii. For Hawaii overall, the asset value of its coral reefs are estimated to be $ 9.7 billion.
                 This is the determined as the sum of all future quantified benefits streams over a 50-year period and a
                 3% discount rate. The last column in the table shows the composition of the main economic benefits
  10             of the coral reefs in Hawaii.

                 The average annual value of the coral reef ecosystem amounts to $364 million. This leads to a net
Summary Report




                 present value at a discount rate of 3% of nearly $10 billion. Without discounting this value would
                 be nearly $19 billion, while at a discount rate of 15% the net present value amounts to $2.8 billion.
                 These high numbers certainly indicate that it is important, both from an ecological and an economic
                 perspective, to take care of this valuable resource. (For more on discount rates http://www.iearesearch.
                 com/papers/discounting.pdf )

                 It should be noted that a related study was sponsored by NOAA’s Office of Response and Restoration.
                 A choice experiment study of the Northwestern Hawaiian Islands was conducted and the researchers’
                 estimated a coral reef value of approximately $34 Billion dollars (Bishop et al 2011). This figure
                 represents non-use value5 for the entire US Population. However as mentioned previously, the results
                 of that study are not included in this report.

                 For further details on the 2002 Hawaii study, go to: http://www.hcri.ssri.hawaii.edu/files/research/pdf/
                 cesar_noaa_final_report_01-02.pdf

                 3
                   Similar to “interest rate”, discount rate is used in cost-benefit analysis and discounted cash flow analysis to calculate
                 the present value of profits that will be received in the future.
                 4
                   Benefit transfer involves transposing existing monetary environmental values estimated at one site (study site) to
                 another (policy site), usually with similar context or physical characteristics.
                 5
                   Economists classify ecosystem values into several types. Two common categories are use values and non-use, or
                 “passive use” values. Use values are based on actual use of the environment (diving, fishing) while non-use values
                 are values that are not associated with actual use (direct use) of an ecosystem or its services. Another category is
                 “existence value”, which is the non-use value that people place on simply knowing that something exists, even if they
                 will never see it or use it.




                                                                                                                                            P00000082556
                                                                                 American
                                                                                 Samoa
Economic Valuation of Coral Reefs and Adjacent
Habitats in American Samoa (2004)                                                                               11

Spurgeon, Roxburgh, O’ Gorman, Lindley, Ramsey and Polunin




                                                                                                         The Economic Value of US Coral Reefs: 2001 – 2011
The coral reefs of American Samoa are one of its most valuable assets, providing benefits to
generations of islanders. However, with one of the fastest population growth rates in the world
and rapid economic and industrial development the island’s coral reefs have come under pressure
from habitat loss, over fishing and pollution. In December 2003, the Department of Commerce
commissioned a study to undertake an economic valuation of the coral reefs and adjacent habitats
of American Samoa. The overall aim of the study was to undertake an economic valuation of coral
reefs and adjacent habitats in American Samoa, of sufficient quality and content, to guide future
use of resources and management for the territory. In particular, the aim was to focus on current
and potential values for corals and mangroves focusing on artisanal and subsistence fisheries,
shoreline protection and recreation/tourism (ecotourism). The study also attempted to estimate
potential nonuse values. That is, values that were predominantly related to social, cultural and
biodiversity aspects. Potential nonuse values result from the fact that people may have a value
for maintaining coastal resources irrespective of their actual use of the resource. The ultimate hope
of this effort was that the study information produced would be used to assist in overall policy
decision-making, particularly to guide resource management for future generations.

A general public contingent valuation questionnaire was designed and used to collect
information about the use and importance of coral reefs and mangroves to the local residents
on American Samoa. The main aim was to elicit a willingness to pay value covering use and non-
use values. The survey was initially piloted amongst a small sample (14 persons) in January 2004
before being modified and conducted island wide in February 2004. Responses were obtained
from 300 residents from 44 villages on Tutuila, Ofu and Olosega. Interview sampling locations and




                                                                                                    P00000082557
                 respondents were selected to be reasonably representative of population distribution (e.g. 90% in
                 southern Tutuila) and socio-economic characteristics (e.g. gender, age, place of birth). Potential
                 future values were calculated based on two scenarios; a business as usual (BAU) scenario and an
                 optimum sustainable management (OSM) scenario.

                 Findings

                 The coral reefs and mangroves of American Samoa both provide significant benefits to the territory
                 and mainland US. Total benefits to American Samoa residents and visitors are estimated to be worth
                 around US$ 5 million/year for coral reefs and US$ 0.7 million/year for mangroves. When potential
                 non-use benefits accruing to US citizens are included, overall benefits could be in the order of at
                 least US$ 10 million/year for coral reefs and US$ 1.5 million/year for mangroves. The economic
                 value of corals in American Samoa was shown to be relatively low when compared to other US coral
                 reef jurisdictions. This is because tourism and recreational access to corals is limited, extensive man-
                 made shoreline defenses have already been constructed (due to significant beach sand and rubble
                 mining) and because there is a relatively small and poor population.

                 Table 5 Current coral reef annual values (US$/year)

                                       Type of benefit                            Residents       Visitors     US public     Total
                     Use benefits       Direct subsistence fishery products        572,000            -                -    572,000
                                          Direct artisanal fishery products        44,000             -                -    44,000
                                           Direct subsistence fishing CS1          73,000             -                -    73,000
  12                                       Direct snorkelling/diving CS1           38,000          12,000              -    50,000
                                         Direct snorkel/dive expenditure2          17,000          7,000               -    23,000
                                         Indirect artisanal fishery products3      70,000             -                -    70,000
Summary Report




                                            Indirect shoreline protection          447,000           -                 -    447,000
                                       Non-use benefits                           3,598,000       216,000      4,964,000   8,778,000
                                         Total benefits                           4,858,000       235,000      4,964,000   10,057,000
                 1. CS = Consumer Surplus
                 2. Visitor expenditures are actually a cost to visitors and a benefit to local businesses/residents
                 3. Offshore reef-associated bottomfish.


                 Table 6 Current mangrove annual values (US$/year)
                                       Type of benefit                            Residents       Visitors     US public     Total
                     Use benefits       Direct subsistence fishery products        29,000             -                -    29,000
                                           Direct subsistence fishing CS1           4,000             -                -     4,000
                                             Indirect fishery products2            13,000             -                -    13,000
                                            Indirect shoreline protection          135,000            -                -    13,5000
                                       Non-use benefits                            541,000         32,000       745,000    1,318,000
                                         Total benefits                            722,000         32,000       745,000    1,499,000

                 1. CS = Consumer Surplus
                 2. Component of the direct coral reef fishery (accounted for in Table 1)




                                                                                                                                     P00000082558
The tables above also highlight that with US public non-use values included, around 50% of coral
reef and mangrove values accrue to residents of American Samoa, equivalent to US$ 4.9 million/
year and US$ 0.7 million/year respectively. Around 75% of the resident values are related to
non-uses, which partly capture traditional and social values. However, of particular significance for
residents are subsistence fishery catches (worth US$ 0.6 million/year), shoreline protection services
(US$ 0.5 million/year) and subsistence consumer surplus, which represents part of the way of life in
American Samoa (US$ 73,000/year).

When considered at a macro-scale (e.g. the entire territory or an individual island), the total values
appear reasonably large. For instance, the annual coral reef resident and visitor use and non-use
values (US$ 5 million) outweigh the current coastal zone management expenditure of around US$
2 million per year by two and a half times. Including non-use values for the US population, the total
of US$10 million outweighs the management expenditure by five times. Without this investment in
management, the coral and mangrove values would rapidly decline to virtually zero.

For more details you can find the full report here http://www.coralreef.gov/meeting18/
ascoralvaluation_samoa_2007.pdf




                                                                                                                13




                                                                                                         The Economic Value of US Coral Reefs: 2001 – 2011




                                                                                                    P00000082559
Northern Mariana Islands
Commonwealth of the
Saipan




   14
                  The Economic Value of the Coral Reefs of Saipan
                  (2006)
 Summary Report




                  van Beukering, Haider, Wolfs, Liu, van der Leeuw, Longland, Sablan, Beardmore,
                  di Prima, Massey, Cesar and Hausfather

                  van Beukering et al (2006) estimate the total economic value of coral reefs and associated
                  resources on Saipan in the CNMI. This study was commissioned by the US Department of the
                  Interior and NOAA. The main objective of the study was to carry out an economic valuation of
                  the coral reefs and associated resources on Saipan and examine the potential for sustainable
                  financing of conservation efforts. The primary purpose of the household survey (of 375 local
                  residents) was to determine the nature and level of the use and non-use values of coral reefs,
                  from the perspectives of local communities on Saipan.

                  The survey covered a number of issues, such as respondents’ level of beach and marine
                  recreation, environmental awareness, fishing activities and the importance of fish in their diet.
                  The survey showed that the residents of Saipan are strongly connected to the coral reefs and the
                  ocean. Citizens of Saipan heavily use the marine environment surrounding the island for fishing
                  and recreational activities. As such, there is strong concern about further deterioration of the
                  marine environment on Saipan and stong support policy interventions by the CNMI government
                  to reverse the negative trend.




                                                                                                                      P00000082560
To estimate the economic value of the above-mentioned non-market values, a Discrete
Choice Experiment (DCE) was used. Respondents were presented with a series of choice sets,
composed of different attributes associated with reefs and their management (e.g. recreation,
fisheries, tax payments). They were then asked to choose between these choice sets. Saipan’s
residents appeared to place a similar value on the ability of reefs to provide local recreational
benefits and supply culturally significant fish species. Although there is some indication that
Saipan’s residents may support increasing the size of the MPA in the lagoon, they are much
more concerned with the effects of pollution and managing pollution as a threat to the reefs.
They are generally willing to pay more tax for this issue to be addressed. The total annual
values for each service are summarized in Table 7 below. The table shows that reef related
tourism values account for the largest share of total economic value.

Table 7 Total coral reef values for CNMI (millions US$/Year; 2007 prices)

   Ecosystem service                 Valuation method                 Total value (millions, US$)
        Amenity                        Value transfer                             3
   Commercial fishery                Net factor income                            1
        Tourism                      Travel cost method                           45
      Recreation                     Travel cost method                           6
   Coastal protection              Avoided damage costs                           9
       Research                      Net factor income                            1
  Total Economic Value                                                            65
                                                                                                                15




                                                                                                         The Economic Value of US Coral Reefs: 2001 – 2011
The researchers also investigated the spatial dimension of interactions between the economy
and coral reefs. They found that in general, the beneficiaries of the reefs’ goods and services
were not spread evenly throughout Saipan, but varied from location to location. They used
Geographic Information System (GIS) tools to analyze this spatial variation in economic values.
They found that the average value of reefs per square kilometer amounted to $0.8 million
however the highest value per square kilometer was around $9 million. The highest value
categories were attributed to the most popular diving and snorkeling sites. Based on their
comparison of the distribution of reefs’ total economic value and their anthropogenic threats,
the authors conclude that, in general, the more valuable the reef, the poorer their condition
and the greater their threats.

Based on the study findings and in conjunction with Saipan’s Local Action Strategy, the
following policy recommendations were provided;

   1. Tackle the problem of non-point and point source pollution;
   2. Make use of the cultural importance residents place on marine ecosystems to improve
      coral reef management;
   3. Develop a comprehensive system of user fees for visitors of the Marine Protected Areas
      on Saipan.

For further details the full study can be found here: http://www.crm.gov.mp/pubs/22.pdf




                                                                                                    P00000082561
Guam



                 Economic Value of Guam’s Coral Reefs (2007)
  16 van Beukering, Haider, Longland, Cesar, Sablan, Shjegstad, Beardmore, Liu, Garces

                 The objective of this study was to carry out a comprehensive economic valuation of the coral reefs
                 and associated resources in Guam. The focus was on valuing the five main uses of coral reefs in Guam.
Summary Report




                 Some of these are extractive uses, such as fisheries (i); others are non-extractive, such as recreation/
                 tourism (ii), cultural/traditional uses (iii), and education and research (iv). Indirect uses such as shoreline
                 and infrastructure protection (v) are also included in the study. The aim being that with a better
                 understanding of the economic importance of coral reefs, Guam’s decision makers can formulate more
                 effective policies utilizing limited funds.

                 The valuation of Guam’s coral reefs involved a series of steps leading to the estimation of the total
                 economic value. The researchers also examined the underlying motives and mechanisms that lie behind
                 the estimated values. In particular, they focused on (1) people’s relationships with marine ecosystems; (2)
                 local willingness to pay for coral reef conservation; (3) the economic importance of Guam’s reefs; and (4)
                 the spatial variation of reef-associated values and threats. The main purpose of the household survey (of
                 400 local residents) was to determine the nature and level of the cultural value of coral reefs. The survey
                 covered a number of issues, such as respondents’ level of beach and marine recreation, environmental
                 awareness, fishing activities and the importance of fish in their diet.

                 Findings

                 The study found that local residents utilize the coastal marine ecosystems for recreational purposes.
                 A majority of the respondents in Guam have barbeques, swim or wade at the beach. Nevertheless,
                 only a minority can actually swim. A significant share of respondents participates in snorkeling and
                 diving. Clean, clear and safe water and good public facilities were considered to be the most important
                 recreational amenities. Coral reefs and fish abundance were also mentioned as relevant, but were
                 not considered to be crucial amenities. Most local residents reported witnessing a degradation of the




                                                                                                                             P00000082562
marine environment in recent decades, in particular a decline in both water quality and fish abundance.
Between 35% and 45% of respondents were active fishermen. On average, fishermen go fishing around
once a week. Despite the depleted fish stocks, fishing has not declined in popularity. In fact, because
fishermen have grown older and have more time available, they now go fishing more frequently.
Residents of Guam use the marine environment for fishing and recreational activities. As a result,
people are concerned about degradation of the marine environment and are willing to support policy
interventions that will address the issue. In fact, residents of Guam have clear ideas about the direction in
which these policies should move.

The researchers also conducted a Discrete Choice Experiment valuation survey to estimate total
economic values (TEV) for Guam’s coral reefs. The study valued the six main ecosystem services provided
by coral reefs in Guam, namely support for commercial fisheries, recreation, tourism, cultural/traditional
uses, research, and shoreline protection. The total annual values for each ecosystem service and the
valuation methods used are summarized in Table 8. The total economic value of Guam’s coral reefs is
dominated by the value of tourism activities, which represents approximately three quarters of the TEV.

Table 8 Total coral reef values for Guam (millions US$/year; 2007 prices)

        Ecosystem service                       Valuation method                  Total value (millions, US$)
              Tourism                           Travel cost method                           104
            Recreation                  Value transfer and net factor income                  10
        Commercial Fishery                       Net factor income                            4
             Amenity                              Hedonic pricing                             11
         Coastal protection                   Avoided damage costs                            9
             Research                            Net factor income                            2                         17
        Total Economic Value                                                                 139




                                                                                                                 The Economic Value of US Coral Reefs: 2001 – 2011
The authors identified a number of important areas in need of protection:

   •	    The most valuable coral reefs are located within 200 meters of the most popular diving and snorkeling
         spots.
   •	    Coral reefs in the inner areas of Tumon, Agana and Piti Bays are valuable because of their
         proximity to the numerous hotels, beaches and parks in these bays.
   •	    Coral reefs along the southern coastline of Guam have a relatively high economic value because
         of their roles in tourism, fisheries, coastal protection and amenities provision. However, due to
         serious sedimentation, these reefs are highly threatened.
   •	    The coral reefs located in the north and northeast of the island are in better condition, but their
         economic (use) value is relatively low.

The report offered some policy recommendations for consideration. The authors suggest that in order
to provide economically-sound guidance to decision makers on the management of coral reefs, it was
important to:

   1. Identify both the most valuable, and most seriously threatened, reefs in Guam;
   2. Determine the type of threat endangering a specific reef and select a number of potentially
      worthwhile interventions;
   3. Evaluate the economic benefits and financial costs associated with these interventions, and;
   4. Find sustainable sources of funding for management interventions.

For more details go to:
ftp://data.nodc.noaa.gov/pub/data.nodc/coris/library/NOAA/CRCP/project/1029/econ_value_guam_
coral_reefs.pdf




                                                                                                            P00000082563
Puerto Rico



                  Economic Assessment of Eastern Puerto Rico’s Coral
   18             Reefs and Associated Environments (2008)
                  Estudios Técnicos Inc
 Summary Report




                  The Puerto Rican Department of Natural and Environmental Resources hired the consulting firm
                  Estudios Técnicos Inc., to carry out an economic assessment of the coral reefs and associated
                  environments of eastern Puerto Rico, namely Fajardo, the Cordillera reef system, Vieques and Culebra.
                  The objective of the study was to calculate the total economic value of the coral reefs and associated
                  resources in this part of eastern Puerto Rico.

                  Approach

                  The report calculated total economic value on the basis of goods, roles, and services provided by this
                  ecosystem. Using the TEV approach they arrive at this value by adding the use values (value of goods
                  and services) and passive values (future value, legacy value, existential value, and biodiversity value).

                  Findings

                  The non-use values for the Puerto Rican population are estimated through the application of the
                  contingent valuation method and again show that these types of values, when estimated, dominate
                  the total economic value of coral reefs. The total annual values for each service are summarized in
                  Table 9.




                                                                                                                        P00000082564
Table 9 Total coral reef values for Puerto Rico (millions US$/year; 2007 prices)
         Ecosystem service                    Valuation method               Total value (millions, US$)
          Small-scale fishing                   Gross revenue                              1
        Recreation and tourism                    Travel cost                           192
          Coastal protection                    Value transfer                             1
        Education and research                  Gross revenue                              1
           Existence value                   Contingent valuation                       306
             Future value                    Contingent valuation                       193
            Bequest value                    Contingent valuation                       210
             Biodiversity                    Contingent valuation                       191
         Total Economic Value                                                          1,093



Coral reef resources, however, continue to deteriorate, mostly due to poor land use practices
and improperly regulated tourist/recreational activities. Over the course of this study, factors
were identified that have the potential to impact the effective management of these resources,
including the following:

   1. A lack of understanding on the part of the general population of the importance of coral
      reefs and their interconnectedness with other costal resources;
   2. A lack of understanding on the part of the general population of what types of tourism/
      recreational activities are harmful to the resources;
   3. The extension and condition of these resources are unknown;
                                                                                                                  19
   4. Information on research and researchers of these resources is scattered; and
   5. The Commonwealth has laws and regulations on the books to protect the reefs, but their
      enforcement has been inadequate.




                                                                                                           The Economic Value of US Coral Reefs: 2001 – 2011
Based on the analysis of uses, users, and threats uncovered in the economic assessment exercise, a
number of recommendations were put forward. They were roughly grouped under Management
and Financing Recommendations.

The management recommendations were:

   •	     Establishment of areas where fishing is permanently banned
   •	     Significantly increase penalties for violations of environmental law
   •	     Implement a study that details the characteristics and demarcation of the zone
   •	     Engage in ecosystem surveillance and supervision
   •	     Limit access to the most sensitive areas
   •	     Buoy placement
   •	     Promotion of sustainable tourism
   •	     Ongoing restoration and monitoring programs
   •	     Implementation of a system for boat access to the area
   •	     Visitor information program

While the suggested financing recommendations were:

   •	     Impose an environmental tax to finance a small fund for maintaining the natural resources
          of eastern Puerto Rico
   •	     Include tourists and users in the protection and management of the area




                                                                                                      P00000082565
US Virgin
Islands


                 The Economic Value of the Coral Reef Ecosystems of
  20             the United States Virgin Islands (2011)
                 van Beukering, Brander, van Zanten, Verbrugge and Lems
Summary Report




                 The objective of this study was to provide a quantitative measure of how important the reefs are to
                 the USVI in monetary terms and also to generate a reference point with which to compare possible
                 alternative development/conservation plans. The assumption being that information on the Total
                 Economic Value (TEV) of reefs should provide a basis for advocating the preservation of the coral
                 reefs in USVI, establishing damage compensation, setting fees for permit applications or determining
                 potential user fees for residents and tourists.

                 Approach
                 The approach for this study was to focus on valuing the six main uses of coral reefs and adjacent
                 habitats in selected sites on the USVI: (1) fishery value; (2) tourism value; (3) recreational and cultural
                 value; (4) real estate value; (5) shoreline protection; and (6) education/research values. Based on the
                 overall approach mentioned, the study involved a wide range of research activities. These include the
                 following:

                    1. An elaborate local resident survey aimed at estimating the local cultural and recreation
                       attachment to the marine environment;
                    2. An extensive tourist survey with the objective to get a comprehensive insight into the
                       importance of the marine environment for visitors to the USVI;
                    3. A thorough analysis of the coastal protection function of reefs thereby revealing the role of coral
                       reefs in avoiding storm damage to properties and infrastructure;




                                                                                                                         P00000082566
   4. A hedonic pricing analysis based on real estate transactions which demonstrated the positive
      impact of healthy reefs on house prices;
   5. A spatial analysis aimed at preparing value maps of the coral reefs of the USVI.
   6. An aggregation exercise combined with a rapid scenario analysis leading to the estimation of
      the TEV of coral reefs of the USVI.

Findings
The above activities resulted in the estimation of the main ecosystem services provided by coral reefs
in the USVI. However estimation of the various ecosystem service values involved a large number
of assumptions that simplify the underlying dynamics and complexity of coral reefs in the USVI. The
authors of this study presented lower and upper bound estimates determined for each ecosystem
service, recognizing the uncertainty surrounding the economic analysis. In the case of coastal
protection, for example, the different storm frequencies available in the literature were used to create
a range of values. In the case of the fishery values, the wide range of financial cost estimates was used
to set the upper and lower bound of the value. The ranges estimated for each ecosystem service is
presented in Table 10 below.

With an average estimate of US$ 202 million per year, the lower bound estimate is determined at
almost US$100 million per year while the upper bound is set at US$273 million per year. The authors
suggest that further study could allow for the reduction of uncertainties and thus the narrowing of
the value range.

Table 10 Upper and lower bound estimates of the annual benefits of coral reefs in the
USVI (2010US$ million/year)                                                                                        21

       Ecosystem Service           Lower bound               Average               Upper bound




                                                                                                            The Economic Value of US Coral Reefs: 2001 – 2011
            Tourism                     64.7                  102.9                    141.0
      Recreation & Cultural             17.5                  51.1                     66.7
            Amenity                     9.7                   37.1                     47.2
       Coastal protection               3.4                    6.7                     13.4
             Fishery                    3.1                    3.3                      3.4
      Research & Education              0.5                    1.0                      1.5
   Total annual economic value          98.9                  202.1                    273.2


The study provides various insights that may be used to develop policy measures which directly
contribute to more sustainable management of coral reefs in the USVI. It also provided a clear
perspective of who benefits most from healthy coral reefs. Those who stand to gain the most
may be ideal contributors to the preservation of the USVI coral reefs. The study shows that next
to tourists, the second most important beneficiary of the coral reefs is the local community, who
benefits from the reef in various ways (e.g. recreation, culture, coastal protection). Through stronger
engagement of the local public in marine management, decision makers may build more local
support for conservation oriented measures while at the same time enhancing the awareness of local
communities.

For further details see full study:
http://www.ivm.vu.nl/en/Images/The%20Economic%20Value%20of%20the%20Coral%20Reefs%20
of%20the%20USVI_tcm53-232341.pdf




                                                                                                      P00000082567
                 Conclusion
                 This document presents a brief summary of seven NOAA Coral Reef Conservation Program funded
                 studies. Other valuation studies were conducted in some of the same jurisdictions over this period.
                 For the purposes of this summary report, we have focused only on these seven studies. However,
                 Brander et al (2013) present a detailed analysis of US coral reef valuation studies in which they
                 include the seven studies discussed here as well as a few others. As part of their summary report,
                 Brander et al conducted a meta-analysis of valuation data. They combined the data from all studies
                 and ran multiple regression models that allowed them to examine relationships between variables,
                 for example the statistical relationships between people and their demand (willingness to pay)
                 for particular coral reef attributes. For example, they found that bundles of tourism/recreation
                 activities were more highly valued that individual activities and non-use values for coral reefs were
                 found to be substantially higher than other values.

                 Brander et al have estimated total economic value of coral reef services for all US coral reef
                 jurisdictions at just over US$ 3.4 billion per year. The authors consider this value to be a partial
                 estimate due to (1) the limited geographical coverage of some state/territory level TEV estimates
                 and (2) the limited set of services that are valued for some states and territories. They have
                 recommended that in order to develop a full picture of the TEV of US coral reefs it is necessary to fill
                 the information gaps on non-use values for the remaining coral reef regions.

                 Like the report discussed above (Brander et al 2013), this report also comes to a similar conclusion.
                 Coral reefs contribute significant economic value to the US public. These studies also confirm
  22             that in order to continue to address the management needs and to build public support for
                 conservation of these resources, economic values must be considered.
Summary Report




                 Better consideration of these economic values should lead to more efficient decision making that
                 balances the needs of development and conservation. The findings summarized here demonstrate
                 a need for new valuation studies in order to update some of the more dated coral reef valuation
                 estimates. In some cases, these studies are over 10 years old and would benefit from advances
                 in valuation approaches and econometric techniques. New valuation studies should incorporate
                 attribute based choice experiment survey approaches as well as the use of cutting edge hedonic
                 analyses.

                 The results from new studies should not only contribute to increased awareness of coral reef values
                 but also could provide useful information that can lead to improvements in policy and decision-
                 making.

                 Total Economic Value of US Reefs by Jurisdiction (2012$)

                             Location                        Study Year              Present Value (2012$ Million/Year)
                              Florida                           2001                                324
                               Hawaii                           2002                                455
                          American Samoa                        2004                                11
                           CNMI – Saipan                        2006                                68
                               Guam                             2007                                150
                            Puerto Rico                         2008                               1,161
                          US Virgin Islands                     2011                                210




                                                                                                                          P00000082568
References
Bishop, R.C., Chapman, D.J., Kanninen, B. J., Krosnick, J.A., Leeworthy, V.R., and Meade, N.F.
(2011). Total economic value for protecting and restoring Hawaiian coral reef ecosystems: Final
Report. Silver Spring, MD: NOAA Office of National Marine Sanctuaries, Office of Response and
Restoration, and Coral Reef Conservation Program. NOAA Technical Memorandum CRCP 16. 406
pp.

Brander, L. and van Beukering, P. (2013) The Total Economic Value of US Coral Reefs : A Review of
the Literature. February 2013. NOAA Coral Reef Conservation Program.

Cesar, H.J., van Beukering, P., Pintz, S., Dierking, J. (2002) Economic valuation of the coral reefs of
Hawaii. December 23, 2002. NOAA Coastal Ocean Program and University of Hawaii Coral Reef
Initiative Research Program.

Estudios Técnicos, 2007. Economic Assessment of Eastern Puerto Rico’s Coral Reefs and Associated
Environments. San Juan, Puerto Rico

Johns, G.M., Leeworthy, V.R., Bell, F.W., and Bonn, M.A., 2001. Socioeconomic Study of Reefs in
Southeast Florida. National Oceanic and Atmospheric Administration, National Ocean Service,
Special Projects

Spurgeon, J., Roxburgh, T., O’ Gorman, S., Lindley, R., Ramsey, D., Polunin, N. (2004) Economic                       23
Valuation of Coral Reefs and Adjacent Habitats in American Samoa. Final Report. Department of
Commerce and Government of American Samoa. November 2004




                                                                                                               The Economic Value of US Coral Reefs: 2001 – 2011
van Beukering, P, Wolfgang Haider, W., Wolfs, E., Liu, Y., van der Leeuw, K., Longland, M., Sablan, J.,
Beardmore, B., di Prima, S., Massey, E., Cesar, H., and Hausfather, Z. (2006). The Economic Value of
the Coral Reefs of Saipan, Commonwealth of the Northern Mariana Islands. Cesar Environmental
Economics Consulting, Arnhem, The Netherlands. Department of the Interior and National
Oceanic and Atmospheric Administration. Washington DC.

van Beukering, P., Haider, W., Longland, M., Cesar, H., Sablan, J., Shjegstad, S., Beardmore, B., Liu,
Y., and Omega Garces, G. (2007) The Economic Value of Guam’s Coral Reefs. University of Guam
Marine Laboratory Technical Report No. 116

van Beukering, P. Brander, L., Van Zanten, B., Verbrugge, E., Lems, K., (2011). The Economic Value of
the Coral Reef Ecosystems of the United States Virgin Islands. IVM Report number: R-11/06.




                                                                                                          P00000082569
  24
Summary Report




                 P00000082570
               The Economic Value of US Coral Reefs: 2001 – 2011
                                                                   25




P00000082571
    http://coralreef.noaa.gov/




  26
Summary Report




                           NOAA Coral Reef Conservation Program, N/OCRM
                           1305 East West Highway, 10th Floor
                           Silver Spring, MD 20910-3281




                                                                          P00000082572
